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                             UNITED STATES DISTRICT COURT

                             MIDDLE DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                                                     CRIMINAL ACTION

VERSUS

CASONDRA REAGAN                                                               20-21-JWD-SDJ

                                              ORDER

       This matter is before the Court on the Defendant’s motion for compassionate release (R.

Doc. 46) filed pursuant to 18 U.S.C. § 3582(c)(1)(A)(i), as amended by the First Step Act, Pub.

L. No. 115-391, 132 Stat. 5194 (2018). The Government opposes this motion. See R. Doc. 60.

For the following reasons, the motion is denied.

                                            Background

       Defendant is currently incarcerated at FCI Aliceville following her guilty plea for the

charge of Conspiracy to Commit Fraud Connected to a Major Disaster Declaration. Her

projected release date is February 11, 2022. The Defendant now moves for a reduction in

sentence pursuant to 18 U.S.C. § 3582(c)(1)(A)(i), claiming that she is at a higher risk of

contracting Covid-19 due to pre-existing health conditions of asthma and cervical cancer. She

also states that the primary caregiver of her children, their father, is ill and can no longer take

care of the children.

                                         Law and Analysis

       A judgment, including a sentence of imprisonment, “may not be modified by a district

court except in limited circumstances.” Dillon v. United States, 560 U.S. 817, 825 (2010).

Under 18 U.S.C. § 3582(c), a court generally “may not modify a term of imprisonment once it

has been imposed,” except in three circumstances: (1) upon a motion for reduction in sentence
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under 18 U.S.C. § 3582(c)(1)(A); (2) “to the extent otherwise expressly permitted by statute or

by Rule 35 of the Federal Rules of Criminal Procedure,” 18 U.S.C. § 3582(c)(1)(B); and (3)

where the defendant was sentenced based on a retroactively lowered sentencing range, 18 U.S.C.

§ 3582(c)(2).

       In this case, Defendant moves to modify her sentence under 18 U.S.C. § 3852(c)(1)(A).

Under § 3852(c)(1)(A)(i), a court may reduce a prisoner's sentence “if it finds that” (1)

“extraordinary and compelling reasons warrant such a reduction” and (2) the reduction is

“consistent with applicable policy statements issued by the Sentencing Commission.”

Prior to 2018 only the Director of the BOP could file these kinds of compassionate release

motions. In 2018, Congress passed, and President Trump signed the First Step Act, which

among other actions, amended the compassionate release process. Under the First Step Act, §

3852(c)(1)(A) now allows prisoners to directly petition courts for compassionate release. Before

filing such motions, however, prisoners must exhaust their administrative remedies.

After a prisoner exhausts her administrative remedies, a district court may reduce a defendant's

term of imprisonment if the court finds “extraordinary and compelling reasons warrant such a

reduction” and “such a reduction is consistent with applicable policy statements issued by the

Sentencing Commission.” 18 U.S.C. § 3852(c)(1)(A)(i).

                             Extraordinary and Compelling Reasons

       The Sentencing Commission's policy statement regarding compassionate release is

consistent with the statute and provides, in pertinent part, as follows:

                Upon motion of the Director of the Bureau of Prisons under 18 U.S.C. §
                3582(c)(1)(A), the court may reduce a term of imprisonment (and may impose a
                term of supervised release with or without conditions that does not exceed the
                unserved portion of the original term of imprisonment) if, after considering the
                factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable, the
                court determines that—
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                       (1) extraordinary and compelling reasons warrant the reduction; ...
                       (2) the defendant is not a danger to the safety of any other person or to the
                       community, as provided in 18 U.S.C. § 3142(g); and
                       (3) the reduction is consistent with this policy statement.

       In the commentary following the policy statement, the Sentencing Commission identifies

three specific reasons that are considered “extraordinary and compelling” as well as a broader

provision for reasons deemed “extraordinary and compelling.”

               1. Extraordinary and Compelling Reasons.—Provided the defendant meets the
               requirements of subdivision (2) [regarding absence of danger to the community],
               extraordinary and compelling reasons exist under any of the circumstances set
               forth below:
                       (A) Medical Condition of the Defendant.—
                                (i) The defendant is suffering from a terminal illness (i.e., a serious
                       and advanced illness with an end of life trajectory). A specific prognosis
                       of life expectancy (i.e., a probability of death within a specific time
                       period) is not required. Examples include metastatic solid-tumor cancer,
                       amyotrophic lateral sclerosis (ALS), end stage organ disease, and
                       advanced dementia.
                                (ii) The defendant is—
                                        (I) suffering from a serious physical or medical condition,
                                        (II) suffering from a serious functional or cognitive
                                        impairment, or

                       (B) experiencing deteriorating physical or mental health because of the
                       aging process, that substantially diminishes the ability of the defendant to
                       provide self-care within the environment of a correctional facility and
                       from which he or she is not expected to recover.
                              (B) Age of the Defendant.—The defendant
                                      (i) is at least 65 years old;
                                      (ii) is experiencing a serious deterioration in physical or
                                      mental health because of the aging process; and (iii) has
                                      served at least 10 years or 75 percent of his or her term of
                                      imprisonment, whichever is less.

                       (C) Family Circumstances.—
                              (i) The death or incapacitation of the caregiver of the defendant's
                              minor child or minor children.
                              (ii) The incapacitation of the defendant's spouse or registered
                              partner when the defendant would be the only available caregiver
                              for the spouse or registered partner.
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                       (D) Other Reasons.—As determined by the Director of the Bureau of
                       Prisons, there exists in the defendant's case an extraordinary and
                       compelling reason other than, or in combination with, the reasons
                       described in subdivisions (A) through (C). U.S.S.G § 1B1.13 cmt. n. 1.

       In United States v. Shkambi, 993 F.3d 38, (5th Cir. 2021), the Fifth Circuit addressed, as

a question of first impression, whether § 1B1.13 and its commentary bind the district court when

ruling on motions filed by defendants on their own behalf after Congress amended

§3582(c)(1)(A) to permit such filings. The Court held “that neither the policy statement nor the

commentary to it binds a district court addressing a prisoner's own motion under § 3582,” and

“[t]he district court ... is bound only by § 3582(c)(1)(A)(i) and, as always, the sentencing factors

in § 3553(a).” Shkambi, 993 F.3d at 393.

       Shkambi does not, however, render § 1B1.13 irrelevant with respect to defendant-filed

motions under § 3582(c)(1)(A). As the Fifth Circuit recognized even before Shkambi,

“[a]lthough not dispositive, the commentary to ...§ 1B1.13 informs our analysis as to what

reasons may be sufficiently ‘extraordinary and compelling’ to merit compassionate release.”

United States v. Thompson, 984 F.3d 431, 433 (5th Cir. 2021). And other circuits are in accord.

United States v. Gunn, 980 F.3d 1178, 1180 (7th Cir. 2020) (“The substantive aspects of the

Sentencing Commission's analysis in § 1B1.13 and its Application Notes provide a working

definition of ‘extraordinary and compelling reasons’; a judge who strikes off on a different path

risks an appellate holding that judicial discretion has been abused. In this way the Commission's

analysis can guide discretion without being conclusive.”); United States v. Aruda, 2021 WL

1307884, at *4 (9th Cir. Apr. 8, 2021) (citing Gunn and recognizing “[t]he Sentencing

Commission's statements in U.S.S.G. § 1B1.13 may inform a district court's discretion for §

3582(c)(1)(A) motions filed by a defendant, but they are not binding”).
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        The defendant bears the burden to establish circumstances exist under which she is

eligible for a sentence reduction under 18 U.S.C. § 3582(c)(1)(A)(i).1 The only “extraordinary

and compelling reason” that would apply in this case is “(A) Medical Condition of the

Defendant.”2

                                     Medical Condition of Defendant

        In her request, Defendant alleges that she suffers from asthma and cervical cancer. Title

18, United States Code, Section 3582(c)(1)(A) provides that extraordinary and compelling

reasons that warrant a reduction are “consistent with applicable policy statements issued by the

Sentencing Commission.” However, Defendant’s allegations are not consistent with

extraordinary or compelling circumstances as provided by the policy statement and its

commentary. Defendant fails to show that her current conditions are sufficiently severe to

diminish her ability to provide self-care. Defendant’s medical records show that she is receiving

care for her conditions that is more than adequate.

        Additionally, Defendant’s refusal of the Pfizer vaccine on April 14, 2021 is confirmed in

her medical records. While the vaccine is not 100% effective at preventing COVID-19 infection,

it reduces the risk of serious illness or death from COVID-19, even in patients with high-risk

medical conditions. For this reason, “[t]he glaring consensus among district courts is that refusal




1
  See United States v. Ennis, EP-02-CR-1430-PRM-1, 2020 WL 2513109, at *4 (W.D. Tex. May 14, 2020) (“[T]he
defendant has the burden to show circumstances meeting the test for compassionate release.” (citing United States v.
Stowe, No. CR H-11-803 (1), 2019 WL 4673725, at *2 (S.D. Tex. Sept. 25, 2019))); United States v. Wright, Crim.
Action No. 16-214-04, 2020 WL 1976828, at *6 (W.D. La. Apr. 24, 2020) (Petitioner has the “burden of showing
the necessary circumstances, or a combination of circumstances, that would warrant relief under the compassionate
release statute.”)
2
  Although the Defendant argues that she is entitled to compassionate relief because the caregiver of her minor
children is incapacitated due to cancer, Defendant does not have custody of her children and has not since at least
2014. As such, there is no indication that Defendant would be allowed to assume care of her minor children upon
release.
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of a COVID-19 vaccine subverts a defendant's compassionate release motion.” United States v.

Sawyers, 2021 WL 2581412, at *4 (C.D. Cal. June 22, 2021).3 As one court recognized:

        Defendant cannot establish that his conditions are exceptional and demand immediate
        release when he intentionally prevents the BOP from mitigating dangers to his health and
        safety. 18 U.S.C. § 3582(c)(1)(A). A prisoner cannot on the one hand point to the risk of
        severe illness, while on the other hand refuse to participate in basic precautionary
        measures such as vaccination. Allowing federal prisoners to qualify for compassionate
        release by declining to receive a COVID-19 vaccine, without justification, would
        discourage prisoners from becoming vaccinated. The court is exceedingly hesitant to
        provide prisoners an incentive to increase their risk of contracting COVID-19 and
        developing severe symptoms. Such a result would be profoundly counter-productive and
        would militate against the ameliorative purposes of compassionate release. Denial of
        Defendant's request for release is warranted on this basis alone. United States v. Austin,
        2021 WL 1137987, *2 (E.D. Mich. Mar. 25, 2021).

        Furthermore, the BOP has undertaken “extensive and professional efforts to curtail the

[COVID-19] virus’s spread.” See United States v. Raia, 954 F.3d 594, 597 (3d Cir. 2020).

Additionally, FCI Aliceville currently has only one positive inmate case and five positive staff




3
  See, e.g., United States v. Downer, 2021 WL 2401236, at *2 (D. Md. June 11, 2021); United States v. Swindler,
2021 WL 2374231, at *3 (D.S.C. June 10, 2021); United States v. Hargrove, 2021 WL 2210844, at *4 (W.D.N.C.
June 1, 2021); United States v. Strother, 2021 WL 2188136, at *8 (E.D. Tex. May 27, 2021); United States v.
Redman, 2021 WL 1737485, at *1 (W.D. Pa. May 3, 2021); United States v. Braxton, 2021 WL 1721741, at *5
(E.D. Tex. Apr. 30, 2021); United States v. Cooper, 2021 WL 1629258, at *7 (E.D. Pa. Apr. 27, 2021); United
States v. Baptiste-Harris, 2021 WL 1583081, at *2 (D. Me. Apr. 22, 2021); United States v. Garcia, 2021 WL
1499312, at *3 (C.D. Ill. Apr. 16, 2021); United States v. Ortiz, 2021 WL 1422816, at *4–5 (E.D. Pa. Apr. 15,
2021); United States v. Gianelli, — F. Supp. 3d. —, 2021 WL 1340970, at *2 (D. Mass. Apr. 9, 2021); United
States v. Greenlaw, 2021 WL 1277958, at *7 (D. Me. Apr. 6, 2021); United States v. Bautista, 2021 WL 1264596, at
*6 (E.D. Pa. Apr. 6, 2021); United States v. Baeza-Vargas, — F. Supp. 3d. —, 2021 WL 1250349, at *2–3 (D. Ariz.
Apr. 5, 2021); United States v. Pruitt, 2021 WL 1222155, at *3 (N.D. Tex. Apr. 1, 2021); United States v. Jackson,
2021 WL 1145903, at *2 (E.D. Pa. Mar. 25, 2021); United States v. Figueroa, 2021 WL 1122590, at *5 (E.D. Cal.
Mar. 24, 2021); United States v. White, 2021 WL 964050, at *2 (E.D. Mich. Mar. 15, 2021); United States v.
Reynoso, 2021 WL 950081, at *2 (D. Mass. Mar. 12, 2021); United States v. Byrd, 2021 WL 929726, at *3 (D.N.J.
Mar. 11, 2021); United States v. Goston, 2021 WL 872215, at *2 (E.D. Mich. Mar. 9, 2021); United States v.
Israilov, 2021 WL 861418, at *2 (S.D.N.Y. Mar. 8, 2021); United States v. Jackson, 2021 WL 806366, at *2 (D.
Minn. Mar. 3, 2021); United States v. Mascuzzio, 2021 WL 794504, at *3 (S.D.N.Y. Mar. 2, 2021); United States v.
Martinez, 2021 WL 718208, at *2 (D. Ariz. Feb. 24, 2021); United States v. King, 2021 WL 736422, at *2
(S.D.N.Y. Feb. 24, 2021); United States v. Robinson, 2021 WL 719658, at *1 (W.D. Pa. Feb. 23, 2021); United
States v. Lohmeier, 2021 WL 365773, at *2 (N.D. Ill. Feb. 3, 2021); United States v. McBride, 2021 WL 354129, at
*3 (W.D. N.C. Feb. 2, 2021); United States v. Williams, 2021 WL 321904, at *3 (D. Ariz. Feb. 1, 2021); United
States v. Gonzalez Zambrano, 2021 WL 248592, at *5 (N.D. Iowa Jan. 25, 2021).
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cases of COVID-19.4 As such, even though Defendant may have medical conditions, there is no

extraordinary and compelling reason supporting compassionate release.

                                                   Conclusion

           For the above and foregoing reasons,

           IT IS ORDERED that the Defendant’s Motion (R. Doc. 46) is DENIED.

           Signed in Baton Rouge, Louisiana, on September 22, 2021.



                                                             S
                                                JUDGE JOHN W. deGRAVELLES
                                                UNITED STATES DISTRICT COURT
                                                MIDDLE DISTRICT OF LOUISIANA




4
    See bop.gov/coronavirus (accessed September 22, 2021).
